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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 DEUTSCHE     BANK    NATIONAL                     §
 TRUST COMPANY, AS TRUSTEE                         §
 FOR FREMONT HOME LOAN                             §
 TRUST   2002-2, ASSET-BACKED                      §
 CERTIFICATES, SERIES 2002-2,                      §
                                                   §
       Plaintiff,                                  §      Civil Action No. 4:22-cv-03146
                                                   §
 v.                                                §
                                                   §
 DIANNA FREEMAN,                                   §
                                                   §
       Defendant.                                  §

                           PLAINTIFF’S ORIGINAL COMPLAINT

       COMES NOW, Deutsche Bank National Trust Company, as Trustee for Fremont Home

Loan Trust 2002-2, Asset-Backed Certificates, Series 2002-2 (“Deutsche Bank” or “Plaintiff”) and

files this its Original Complaint against Dianna Freeman (“Defendant”), and would respectfully

show the Court as follows:

                         I. PARTIES, JURISDICTION, AND VENUE

       1.      Plaintiff is a national association and trustee of a traditional trust. When a trustee is

the real party in interest to the suit, its citizenship—not the citizenship of the beneficiaries of the

trust—controls for purposes of diversity jurisdiction. Navarro Sav. Assoc. v. Lee, 446 U.S. 458,

464–66 (1980); Mfrs. and Traders Trust Co. v. HSBC Bank USA, N.A., 564 F.Supp.2d 261, 263

(S.D.N.Y. 2008). When the trustee has the power to sue or be sued in its own name (and does so),

it is the real party in interest. Navarro, 446 U.S. at 464–66; Rivas v. U.S. Bank N.A., No. H-14-

3246, 2015 U.S. Dist. LEXIS 74505 **3–4 (S.D. Tex. June 9, 2015). A national banking

association is considered a citizen of the state in which it is located. 28 U.S.C. § 1348. Its location



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is determined by the state of its main office, as established in the bank’s articles of association.

Wachovia Bank, NA v. Schmidt, 546 U.S. 303, 318 (2006). Deutsche Bank has its main office in

California. Therefore, Deutsche Bank is a citizen of California for diversity purposes.

       2.      Mack Freeman (“Decedent”) was an obligor under the Loan Agreement described

below. Mack Freeman died on or about June 15, 2019. Upon information and belief, no probate is

open for Decedent’s estate in the county where the subject property is located or the county where

he died. Accordingly, there is no executor or administrator to be made a party in this proceeding

as the personal representative of the Decedent’s estate.

       3.      Defendant Dianna Freeman is an obligor under the Loan Agreement described

below and surviving spouse of Decedent. She is a citizen of Texas may be served with process at

her residence, 12407 Blue River Drive, Houston, TX 77050, or at such other place as she may be

found. Summons is requested.

       4.      This Court has jurisdiction over this dispute under 28 U.S.C. § 1332 because there

is complete diversity between Plaintiff and Defendant, and the amount in controversy exceeds

$75,000.00. Due to Defendant’s conduct, as alleged herein, Plaintiff has the right to foreclose upon

real property which secures a debt pursuant to a security instrument. In an action for declaratory

or injunctive relief, the amount in controversy for jurisdictional purposes is measured by the “value

of the right to be protected or the extent of the injury to be prevented.” Leininger v. Leininger, 705

F.2d 727, 729 (5th Cir. 1983). If unable to foreclose on the Property, Plaintiff stands to lose the

value of the Property, plus any associated interest. Therefore, the value of the Property determines

the amount in controversy. See e.g., McDonald v. Deutsche Bank Nat. Trust Co., 3:11-CV-2691-

B, 2011 U.S. Dist. LEXIS 146040, 2011 WL 6396628 (N.D. Tex. Dec. 20, 2011) (holding that

declaratory requests in foreclosure “call[] into question the right to the property in its entirety and



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the amount in controversy is equal to the value of the property”). According to the Harris County

Central Appraisal District Website, the Property involved in this matter is valued at $157,848.00

as of the 2022 appraisal. Therefore, the amount in controversy is well in excess of $75,000.00.

        5.      Venue is proper in this district and division, the United States District Court for the

Southern District of Texas, Houston Division, under 28 U.S.C. § 1391(b)(2) because the real

property that is the subject of this action is situated in this district and division.

                                     II. SUMMARY OF FACTS

        7.      On or about September 17, 2002 Decedent Mack Freeman and Defendant Dianna

Freeman executed that certain Adjustable Rate Note (the “Note”) in the original principal amount

of $116,635.00 payable to Fremont Investment & Loan and bearing interest at the rate of 9.000%

per annum. A copy of the Note is attached hereto as Exhibit A.

        8.      Concurrently with the Note, Decedent Mack Freeman and Defendant Dianna

Freeman (together as “Borrowers”) executed that certain Deed of Trust (the “Security Instrument”

and together with the Note, the “Loan Agreement”), as grantors, granting Fremont Investment &

Loan a security interest in certain real property and improvements located in Walker County, Texas,

commonly known as 12407 Blue River Drive, Houston, TX 77050, and more particularly

described as:

                LOT TWO (2), BLOCK TWO (2), OF ROYAL GLEN
                SUBDIVISION, SECTION ONE (1), AN ADDITION IN HARRIS
                COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT
                THEREOF, RECORDED IN VOLUME 191, PAGE 115 OF THE
                MAP RECORDS OF HARRIS COUNTY, TEXAS.
                (The “Property”).




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The Security Instrument was recorded in the Real Property Records for Harris County, Texas on

September 19, 2002 under Document No. W091449. A true and correct copy of the Security

Instrument is attached hereto as Exhibit B.

       9.      SGGH, LLC, successor in interest to Fremont reorganizing corporation f/k/a

Fremont Investment & Loan assigned and transferred the Loan Agreement to Plaintiff as evidenced

by the Corporate Assignment of Deed of Trust (“Assignment”). The Assignment was recorded in

the official public records of Harris County, Texas, as Instrument No. RP-2016-220815. A true

and correct copy of the Assignment is attached hereto as Exhibit C.

       10.     Plaintiff is the current holder of the Note and beneficiary of the Security Instrument.

Plaintiff is also a mortgagee of the Loan Agreement, as defined by § 51.0001(4) of the Texas

Property Code.

       11.     Under the terms of the Loan Agreement, the Borrowers are required to pay when

due the principal and interest on the debt evidenced by the Note, as well as any applicable charges

and fees due under the Note.

       12.     The Loan Agreement further provides that should the Borrowers fail to make

payments on the Note as they became due and payable, or fail to comply with any or all of the

covenants and conditions of the Security Instrument, that the lender may enforce the Security

Instrument by selling the Property according to law and in accordance with the provisions set out

in the Loan Agreement.

       13.     On or about June 15, 2019, Decedent Mack Freeman passed away. No probate was

ever opened for him. In accordance with Texas Estates Code §§ 101.001(b) and 101.051, his heirs

acquired all his interest in the Property immediately upon his death—subject to the Loan

Agreement debt owed to Plaintiff.



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       14.     The Loan Agreement is in default as of July 1, 2021. A Notice of Default was sent

to Borrowers in accordance with the Loan Agreement and the Texas Property Code on March 8,

2021. A true and correct copy of the Notice of Default is attached hereto as Exhibit D.

       15.     The default was not cured. On June 30, 2022, a Notice of Acceleration of Loan

Maturity (“Notice of Acceleration”) was sent to Borrowers in accordance with the Loan

Agreement and the Texas Property Code. A true and correct copy of the Notice of Acceleration is

attached hereto as Exhibit E.

       16.     All conditions precedent have been performed or have occurred for Plaintiff to

enforce its security interest against the Property. Plaintiff brings this suit for declaratory judgment

and foreclosure so it may enforce its security interest in the Property.

                                      III. CAUSES OF ACTION

       A. DECLARATORY JUDGMENT

       23.     The foregoing paragraphs are incorporated by reference for all purposes.

       24.     Plaintiff requests a declaration from this Court that it is the owner and holder of the

Note and beneficiary of the Security Instrument. Plaintiff requests a further declaration from this

Court that, as owner and holder of the Note and beneficiary of the Security Instrument, Plaintiff is

a mortgagee as that term is defined under Texas Property Code section 51.0001(4), and is

authorized to enforce the power of sale in the Security Instrument through foreclosure of the

Property.

       B. STATUTORY PROBATE LIEN

       25.     The foregoing paragraphs are incorporated by reference for all purposes.




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       26.     Plaintiff seeks a declaration from this Court that Plaintiff has a statutory probate

lien against the Property under the terms of the Loan Agreement and the following statutory

authority:

                   a. TEX. ESTATES CODE §§ 101.001(b) and 101.051(b)(1),
                      which state in pertinent part:

                       “the estate of a person who dies intestate vests
                       immediately in the person's heirs at law, subject to the
                       payment of, and is still liable for: the debts of the
                       decedent, except as exempted by law”

                   b. TEXAS TITLE EXAMINATION STANDARDS § 11.10,
                      which states in pertinent part:

                       “A decedent’s Property passes to his or her heirs at
                       law or devisees immediately upon death, subject in
                       each instance, except for exempt Property, to
                       payment of debts, including estate and inheritance
                       taxes;” and

                   c. TEXAS TITLE EXAMINATION STANDARDS § 11.60,
                      which states in pertinent part:

                       “A decedent’s Property passes to his or her heirs at
                       law or devisees immediately upon death, subject in
                       each instance, except for exempt Property, to
                       payment of debts, including estate and inheritance
                       taxes . . . Property of a decedent passes subject to
                       unpaid debts and taxes of the estate.”

       27.     Through Plaintiff’s statutory probate lien, reserved in Texas Estates Code

§§ 101.001 and 101.151, Plaintiff has an enforceable and superior lien against the Heirs’ interest

in the Property. Because of a material breach of the Loan Agreement, Plaintiff seeks to enforce its

statutory probate lien in the Property through foreclosure.

       C. NON-JUDICIAL FORECLOSURE

       28.     The foregoing paragraphs are incorporated by reference for all purposes.




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       29.     Because of a material breach of the Loan Agreement, Plaintiff seeks an order from

this Court to enforce its statutory probate lien through non-judicial foreclosure pursuant to the

terms of the Loan Agreement and Texas Property Code § 51.002, with respect to Defendant who

acquired the Property subject to Decedent’s debts.

       D. PUBLIC AUCTION

       30.     The foregoing paragraphs are incorporated by reference for all purposes.

       31.     Because of the material breach of the Loan Agreement, a public auction of the

Property in conjunction with all other regularly scheduled non-judicial foreclosure sales on the

first Tuesday of the month would provide the most practical, efficient, and effective means to

enforce Plaintiff’s security interest in the Property. Because the rights, responsibilities and duties

of Plaintiff and the trustee are well known under Texas Property Code § 51.002 and Texas case

law, a public auction conducted in the same manner as a non-judicial foreclosure sale would meet

all constitutional standards of due process. Because no personal liability is sought against the

Defendant, a public auction of the Property would be the most expedient means to put the Property

back into the stream of commerce and the housing stock of the community. Otherwise, the Property

will continue to be a wasting asset that is subject to vandalism and deterioration.

       E. JUDICIAL FORECLOSURE

       32.     The foregoing paragraphs are incorporated by reference for all purposes.

       33.     In the alternative, for failure to cure the default of the Loan Agreement, Plaintiff

seeks to enforce its security interest against the Property in an amount equal to the payoff at the

time of judgment.

       34.     As the current legal owner and holder of the Note and the mortgagee of record who

has the right to enforce the Note and Security Instrument, Plaintiff seeks a judgment for judicial



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foreclosure together with an order of sale issued to the sheriff or constable of Harris County—the

county where the Property is located—directing the sheriff or constable to seize and sell the

Property in satisfaction of the Loan Agreement debt.

       F. ATTORNEYS FEES

       35.     Because of the material breach of the Loan Agreement, Plaintiff is entitled to

recover reasonable and necessary attorneys’ fees under the loan documents, and Texas Civil

Practice and Remedies Code §38.001. Attorneys’ fees are not sought as a personal judgment

against the Defendants but only as an additional debt secured by the Security Instrument.

                                             PRAYER

       For these reasons, Plaintiff requests that Defendant be cited to appear and answer and that,

upon final hearing, the Court enter judgment granting:

       a. A declaration that Plaintiff is the owner and holder of the Note and beneficiary of the
          Security Instrument and that Plaintiff is a mortgagee as that term is defined under Texas
          Property Code section 51.0001(4), and is authorized to enforce the power of sale in the
          Security Instrument through foreclosure of the Property;

       b. A declaration that Plaintiff’s statutory probate lien against the Property shall be
          enforced by a non-judicial foreclosure at public auction—or alternatively, a judgment
          for judicial foreclosure—and that through the foreclosure or auction the Defendant is
          divested, and the purchaser at foreclosure sale is vested, of all of Decedent’s right, title,
          and interest to the Property;

       c. Attorney fees and costs of suit; and

       d. All other relief, in law and in equity, to which Plaintiff is entitled.




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                                       Respectfully submitted,

                                      By: /s/ Nicholas M. Frame
                                         MARK D. CRONENWETT
                                         Texas Bar No. 00787303
                                         Southern District Admission#21340
                                         Attorney in Charge
                                         mcronenwett@mwzmlaw.com

                                         NICHOLAS M. FRAME
                                         Texas Bar No. 24093448
                                         Southern District Admission #3121681
                                         Of Counsel
                                         nframe@mwzmlaw.com

                                      MACKIE WOLF ZIENTZ & MANN, P.C.
                                      14160 North Dallas Parkway, Suite 900
                                      Dallas, TX 75254
                                      Telephone: 214-635-2650
                                      Facsimile: 214-635-2686

                                      ATTORNEYS FOR PLAINTIFF




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